                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO


AL-RASHAAD R. CRAFT,
               Plaintiff,
v.                                                         No. 17-CV-469-NF-KHR
CHAD WRIGHT, in his official and
Individual capacity; and AHMAD WHITE,
in his official and individual capacity,

               Defendants.


    PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION FOR
            SUMMARY JUDGEMENT FOR QUALIFIED IMMUNITY

        In response to Defendants Motion for Summary Judgment [Doc. 90] Plaintiff states as

follows:

   I.      INTRODUCTION.

        Al-Rashaad R. Craft (“Plaintiff”) is of African-American decent and raised in a Southern

   Baptist household. Growing up in Houston, Texas he found himself constantly involved in

   his family church where his grandfather was a Southern Baptist preacher and so was his

   father. Growing up Craft’s family was so devoted to the Christian faith that he was even sent

   to a Catholic grade school to further develop godly principles. On April 18, 2015 Craft was

   in a public forum on Ship and Broadway in Hobbs, New Mexico when he was projecting the

   word of God when he was accosted by a female individual by the name of Susan Stone. Mrs.

   Stone and her husband owned Desert Guns approximately 50 yards from the location in

   which Craft was giving his public sermon. While preaching, Craft was preaching towards an
open area and was in no way interfering with business or attempting to cause harm to anyone

in the public. He was simply attempting to project the word of God and what he believed to

be his obligation as a Christian. What the Defense fails to set forth in their Motion for

Summary Judgement is that the Hobbs Police Department had been surveying Craft for some

time prior to his arrest and when the arrest warrant was obtained Defendant Ahmad White

went out of his way to include false statements to obtain the warrant.

      For reasons more fully set forth herein, Defendant’s Motion should be denied.

II.        COUNTER STATEMENT OF UNDISPUTED MATERIAL FACTS.

      1.     On April 18, 2015 Craft was standing in a public squire in Hobbs, New Mexico,

             preaching a religious sermon, recording himself doing so. (See, Craft Recording,

             Exhibit 1)

      2.     Craft had a Constitutional right pursuant to the First and Fourteenth Amendments

             to free speech and right to free exercise of religion.

      3.     At no time during his sermon did Craft make “racial comments like ‘all white

             people need to be murdered’ and ‘the black man needs to rise up and kill all of the

             white people’”. (See, Craft Recording, Exhibit 1, Ellis Audio Recording, Exhibit

             2 and Deposition of McEachern, pp 28:11-23; 29:20-23; 31-32:15-19; 34:22-25,

             Exhibit 3).

      4.     While standing in a public square, Susan Stone approached craft and begin yelling

             obscenities, and waving a lighter only inch from Craft’s face and in front of the

             Camera that Craft set up to record his sermon. (See, Craft recording Exhibit 1).




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5.    Repeatedly, Susan Stone called Craft a “Goddam nut” and a “Mother f***er.”

      (See, Craft recording Exhibit 1).

6.    Craft ignored the women, but when he started to read from his Bible, Stone struck

      Craft in the face with his Bible. In response, Craft pushed the women away, and

      she lost her balance and fell. (See, Craft Recording, Exhibit 1).

7.    Stone got up and continued to shout obscenities at Craft, walking in circles around

      him, smoking, and waving her lighter and continued taunting Craft. (See, Craft

      Recording, Exhibit 1).

8.    A short time later, Hobbs Police Officers Ellis and Thomas arrived on scene and

      took statements and Craft advised the officers that the entire incident was on

      video. (See, Craft Recording, Exhibit 1).

9.    Sargent Timothy McEachern has testified that the individual that should have

      been arrested on the date in question was Susan Stone and not Craft. (See,

      Deposition of McEachern, pp 41-42:15-2, Exhibit 3).

10.   The matter taking place between Craft and Stone would be considered a

      misdemeanor battery and therefore no arrest should have been made, the parties

      referred to the Hobbs City Attorney and there was no reason to take or go into

      Craft’s phone. (Deposition of Tim McEachern, pp 44:5-15, Exhibit 3 and

      Deposition of Michael Thomas, pp 23-24, Exhibit 4).

11.   There was no report of injury at the scene and Stone stated there was no need for

      an ambulance to be called. (See, Officer Ellis Audio Recording, Exhibit 2)




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12.   Officers Ellis and Thomas advised Mr. and Mrs. Stone that the matter involved a

      misdemeanor battery and no arrest cold be made; in response Mr. Stone, owner of

      Desert Guns, demanded the presence of a supervisor. (See, Ellis Audio

      Recording, Exhibit 2 @ 9:20)

13.   Officer Ellis called his supervisor and advised that the locals were upset that Craft

      was not being arrested and was advised by Sergeant McEachern that they were

      attempting to find a way to get [Craft] of the street. (See, Ellis Audio Recording,

      Ex. 2 @ 16:48).

14.   Officer Brandon Ellis further testified that he was advised by Sergeant

      McEachren that “Chad Wright said we needed to find a reason to arrest him.”

      (See, Deposition of Brandon Ellis, pp 15-16:17-24, Exhibit 5)

15.   At no time during Officer Ellis’ interview of Stone did she ever indicate that Craft

      was advocating for the murder of white people and if she had it would have been

      documented in his report. (See, Deposition of Brandon Ellis, p 20: 5-12, Exhibit 5

      and Ellis Audio Recording, Exhibit 2).

16.   After questioning the witness at the scene Officer Ellis and Officer Thomas

      advised both Craft and Stone that this was a simple misdemeanor and if they

      wished to pursue charges, they were to contact the City Attorney. (See, Ellis

      Audio Recording, Exhibit 2)

17.   Officer Ellis was removed from the case was advised that he was to have no

      longer involvement and Detective White was assigned to the case. (See,

      Deposition of Ellis, pp 62:21-24, Exhibit 5).


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18.   Upon being assigned to the case Defendant White interviewed Stone at her

      residence where White made it very clear that he was on the case and Mr. Stone

      states “his dreams came true” that White was assigned to the case (See, White’s

      recording of Stone, Exhibit 6).

19.   Like that of Officer Ellis’ recorded interview of Stone, nowhere during Defendant

      White’s interview of Stone does she indicate that Craft stated “all white people

      need to be murdered” and “the black man needs to rise up and kill all the white

      people.” (See, Craft Recording, Exhibit 1; Officer Ellis Audio Recording,

      Exhibit 2; White’s Recording of Stone, Exhibit 6; and Affidavit for Arrest

      Warrant, Exhibit 7).

20.   In the years Officer Brandon Ellis was an officer of Hobbs Police Department, he

      had never seen an individual get arrested for a misdemeanor battery like the one

      in question. (See, Deposition of Brandon Ellis, pp 23-24: 25-3, Exhibit 5).

21.   After Defendant White was assigned to the case, he went out of his way to make

      several misrepresentations to obtain an arrest warrant. (See, Affidavit for Arrest

      Warrant, Exhibit 7).

22.   Among those inaccurate assertions were that Craft had made racially offensive

      comments, used profanity, that Craft pushed Stone without prior physical contact

      initiated by Stone, and that Stone and Craft were arguing. (See, Affidavit of

      Arrest Warrant, Exhibit 7).

23.   On April 25th, 2015 Craft presented to the same location to conduct his public

      sermon. Upon setting up his tripod he was immediately detained by several


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                   Hobbs Police officers and transported to the local city jail and later transferred to

                   the Lea County Detention Center where he remained until May 13, 2015. (See,

                   Deposition of Al-Rashaad Craft, pp 198-200; 24-9, Exhibit 10)

           24.     At no time in his life had Craft ever been arrested or at any time charged with a

                   crime. As a result of preaching in public in Hobbs, New Mexico he was charged

                   with a third-degree felony and served 19 days in jail.

           25.     Magistrate Judge, Willie Henry indicates that Defendant Ahmad White

                   misrepresented the facts in order obtain an arrest warrant. (See, Affidavit of

                   Willie Henry, Exhibit 8).

    III.         ARGUMENT AND AUTHORITIES


    A. SUMMARY JUDGMENT STANDARD

           “A motion for summary judgment may only be granted if there is no genuine issue as to

any material fact...” Frito-Lay, Inc. V. Retail Clerks Union, 629 F.2d 653, 656 (10th Cir. Colo.

1980) [emphasis added, internal quotation marks omitted]. The Tenth Circuit grants Rule 56

motions sparingly, noting the motion “is drastic and should be applied with caution...” in order to

afford litigants their right to trial. In order to properly protect the right to trial, the court “...must

consider factual inferences tending to show triable issues in a light most favorable to the

existence of such issues.” Id. [emphasis added]. In Tolan v. Cotton, 572 U.S. 134 S.Ct. 1061

(2014) (decided May 5, 2014) the court found that in considering motions for summary judgment

it is improper to weigh more heavily evidence offered by the moving party stating in part:




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“In articulating the factual context of the case, the Fifth Circuit failed to adhere to the axiom that

in ruling on a motion for summary judgment, ‘[t]he evidence of the nonmovant is to be believed,

and all justifiable inference are to be drawn in his favor.’ Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 255 (1986). For that reason, we vacated its decision and remand the case for further

proceedings consistent with this opinion.”

       The Court in Tolan went on to find that the lower court (5th Cir.) “did not credit directly

contradictory evidence” and “[c]onsidered together, these facts lead to the inescapable

conclusion that the court below credited the evidence of the party seeking summary judgment

and failed properly to acknowledge key evidence offered by the party opposing that motion”.

“The witnesses on both sides come to this case with their own perceptions, recollections, and

even potential biases. This is in part for that reason that genuine disputes are generally resolved

by juries in our adversarial system.” Id. Tenth Circuit case law holds that, in a summary

judgment proceeding, “the movant ... bears the initial burden of ‘showing’ - that is, pointing out

to the district court - that there is an absence of evidence to support the nonmoving party's case.”

See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). Per Fed. R. Civ. P. 56(e), if the movant

meets this burden, the nonmoving party “may not rely merely on allegations or denials in its own

pleading; rather, its response must - by affidavits or as otherwise provided in this rule - set out

specific facts showing a genuine issue for trial.” Id. Only if the nonmovant does not present

genuine issues of material fact should a court determine whether the moving party is entitled to

judgment as a matter of law. See Celotex, 477 U.S. at 322. In the instant case, the Plaintiff has

clearly demonstrated a genuine issue of material fact.




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B.      LEGAL ARGUMENT.

     1. The Evidence Clearly Demonstrates that Defendant Ahmad White is not Entitled to
        Summary Judgement on the Basis of Qualified Immunity.


        i.     No Probable Cause Exist for the Arrest of Craft.

        Probable cause to arrest exists if, at the moment the arrest was made, the facts and

circumstances within the office’s knowledge and of which he had reasonably trustworthy

information were sufficient to warrant a prudent person in believing that the arrestee had

committed or was committing an offense. See Hunter v. Bryant, 502 U.S. 224, 228 (1991).

“Affiants seeking arrest warrants violate the Fourth Amendment when they knowingly, or with

reckless disregard for the truth, include false statements in an affidavit, or knowingly or

recklessly omit from the truth, include false statements in an affidavit, or knowingly or recklessly

omit from it information which, if included, would vitiate probable cause.” Puller v. Baca, 781

F.3d 1190, 1197 (10th Cir. 2015). A reckless disregard for the truth exists when “the affiant ‘in

fact entertained serious doubts as to the truth of his allegations, …[and] a factfinder may infer

reckless disregard from circumstances evincing ‘obvious reasons to doubt the veracity’ of the

allegations.” United States v. Williams, 737 F.2nd 594, 602 (7th Cir. 1984) (quoting St. Amant v.

Thompson, 390 U.S. 727, 731-32 (1968)). This rule applies to omissions as well as affirmative

misstatements, if the omissions are so probative they would vitiate probable cause. Stewart v.

Donges, 915 F.2d 572, 582 n. 13, 583 (10th Cir. 1990). Recklessness may be inferred from

omission of facts which are “clearly critical” to a finding of probable cause. Hale v. Fish, 899

F.2d 390, 400 (5th Cir. 1990); United States v. Reivich, 793 F.2d 957, 961 (8th Cir. 1986).




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       When an affiant has knowingly or recklessly disregarded the truth, “we measure probable

cause by (1) removing any false information from the affidavit; (2) including any omitted

material information, and then (3) inquiring whether the modified affidavit establishes probable

cause for the warrant.” Puller v. Baca, 781 F.3d 1190, 1197 (10th Cir. 2015). In order to obtain

an arrest warrant Defendant White not only leaves out pertinent evidence he fabricates evidence

that is no where in Officer Ellis’ report, no where in Officer Ellis audio recording from when he

arrived on scene and Defendant White asserts language in his sworn affidavit that simply never

occurred in his attempt to obtain an arrest warrant. For example Defendant White misrepresents

the following in his affidavit:

              “Susan also told Officer Ellis that Rasben had been using profanity when he
               preaches in the presence of children.”
              “She said there was a few feet in between them and Rasben closed the distance
               until he was standing directly in front of her”
              “’All white people need to be murdered and the black man needs to rise up and
               kill all the white people’”
              “’White people should all be murdered so the black race could dominate
               everything.’”
              “I was also informed [by Stone] that Rasben Craft had made several statements,
               such as “Jihad is alive” and “that is how you deal with those type of people” after
               he pushed her down.”
              She told me the police were contacted and EMS responded to the scene.

(See, Affidavit of Arrest Warrant, Exhibit 7).

       The effort by which Defendant White went out of his way to fabricate the evidence in his

affidavit to obtain an arrest warrant is disgustingly shocking to the conscious. The fact is

Defendant White was aware that a video of the entire event existed that he purposefully ignored

and he never took the time speak with the investigating officer, Brandon Ellis. The Defense

asserts that an aggravated battery is a felony when the unlawful touching or application inflicts



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great bodily harm on the person. NMSA §30-5-3(C) The problem with this argument is that

Stone never called for an ambulance and there is nothing to substantiate injuries. In fact, Stone

was up and walking around smoking cigarette within seconds of being pushed away. Remove

the false information and analyze the omitted material there was clearly no probable cause for

arrest.

          Elements of Aggravated Battery

          In the State of New Mexico, the statute for aggravated battery reads as follows:

          A. Aggravated battery consists of unlawful touching or application of force to the person

              of another with intent to injure that person or another.

          …

          C. Whoever commits aggravated battery inflicting great bodily harm or so with a deadly

           weapon or does so in any manner whereby great bodily harm or death can be inflicted is

           guilty of a third-degree felony.

           N.M. Stat. Ann. 1978, § 30-3-5 (1963).

           In New Mexico, the prosecution has the burden to prove that a “viable self-defense

claim, however, was not something Detective White was required to work out prior to seeking an

arrest warrant. While that might be true in most cases, in this case Defendant White was aware

that a self-defense claim existed and he went out of his way to fabricate evidence in order to

mislead the court into issuing an arrest warrant for aggravated battery.

ii.       The evidence clearly demonstrates that in fact Defendant White knowingly and
          intentionally fabricated facts in order to obtain an arrest warrant for aggravated
          battery.




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         The Defense takes the position that “there are many problems with Plaintiff’s argument.

[E]ven if such inaccuracies and omissions exist, there is no evidence whatsoever that Detective

White acted knowingly or with reckless disregard for the truth.” This simply can not be further

from the truth. The affidavit presented by Defendant White consists of at least 6 falsifications.

Defendant White did not simply ignore the video he went out of his way to fabricate facts to

obtain an arrest warrant. Hobbs Police officers Ellis and Thomas on the date in question stated

mob “by arresting him it takes away his Fourth Amendment Right; however, the crowd was not

satisfied and the owner of Desert Guns, Mark Stone wanted him off the street so he clearly, as

stated in the audio, went and contacted his friend Marshall Newman. In fact, the Hobbs Police

Department had been conducting surveillance of Craft in order to find a way to have him

arrested. When deposed as to his knowledge of the events and presented with the photo provided

by HPD Officer, Thomas testified as follows:

       Q:      Do you have any understanding form your work at the Hobbs Police Department,
               and let me explain that. This photograph was produced to us by the City’s
               attorneys in response to our request for any of the evidence that let to Mr.
               Craft’s arrest.
       …
       A:      Sometimes if there was a person of interest in the sort of way. So, like I’ll give
               you an example. Like if there was like a certain person being released from
               prison for something, or like a motorcycle gang, sometimes they do like a BOLO
               kind of thing, kind of informational. A little pamphlet or something giving some
               basic facts and a photo.
       Q:      These photographs would be taken of someone that the police either felt was
               engaged in some sort of criminal activity. Is that fair?
       A:      I think that’s fair.
       …
       Q:      Since you and Officer Ellis chose not to arrest Mr. Craft, I’m wondering if you
               know how this ended up being assigned to Detective White leading to Mr. Craft
               being arrested.



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       A:      I’m not certain.
       Q:      Have you ever worked on other cases, other calls like this were you or other
               responding officers did not make an arrest, and then someone else later went
               out and did arrest subjects.
       A:      Not on a call like this.
       Q:      What’s the distinction that you are drawing?
       A:      Domestics, felonies.
       Q:      So if there’s a domestic violence incident, or felony, perhaps you might get a call
               out, and don’t make the arrest, but somebody else later on comes in, and does
               so?
       A:      Yes, sir.
       Q:      Okay. But no on an incident of this degree, is that true?
       A:      That’s correct.

(See, Deposition of Officer Michael Thomas, pp 19-21: 23-15, 25-26, 19-25, Exhibit 4 and HPD
Surveillance photo of Craft, Exhibit 9).

         It is clear that Defendants White was disinterested in Craft’s personal video “because

they wanted to find a way to arrest him” and the video would further exonerate Craft from any

wrongdoing. Every officer and/or reasonable civilian who has reviewed the video of the

interaction between Stone and Craft has asked: “…and why was Craft arrested?” Again, as set

forth in the sworn testimony of Ellis, the recording of Ellis from the date of the event and the

surveillance phots, the only why Craft could have been arrested was by fabricating evidence to

obtain an arrest warrant. This was not a matter of mere reckless disregard on the part of

Defendants White and Wright, this was a matter of blatant disregard for the rights of Craft. The

Defense can attempt all day long to state “that the video was not available to Detective White”;

however, the video could have easily been obtained and Defendants didn’t want it because they

knew what would it would show and they believed they are above the law. The only way Craft

could have been arrested was by Defendant White fabricating facts that never existed. (See,

Affidavit of Magistrate Court Judge, Willie Hennery, Exhibit 8).


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iii.    Neither Defendants White or Wright are entitled to Qualified Immunity.

       When a defendant asserts qualified immunity at the summary judgment stage, the burden

shifts to the plaintiff, who must clear two hurdles to defeat the defendant's motion. See Riggins v.

Goodman, 572 F.3d 1101, 1107 (10th Cir. 2009). The plaintiff must demonstrate, on the facts

alleged, that (1) the defendant violated a constitutional right, and (2) the right was clearly

established at the time of the alleged unlawful activity. See id. The Court has the freedom to

decide “which of the two prongs of the qualified immunity analysis should be addressed first in

light of the circumstances in the particular case at hand.” Pearson v. Callahan, 129 S. Ct. 808,

818 (2009). “A constitutional right is clearly established when, at the time of the alleged

violation, the contours of the right were sufficiently clear that a reasonable official would

understand that his actions violate that right.” Swanson v. Town of Mountain View, 577 F.3d

1196, 1200 (10th Cir. 2009). While the plaintiff does not have to present a case with an identical

factual situation, the plaintiff must show legal authority making it “apparent that in the light of

pre- existing law a reasonable official would have known that the conduct in question violated

the constitutional right at issue.” Id. (internal quotation marks and ellipsis omitted). In

determining whether a right was clearly established, the Court looks for Supreme Court or Tenth

Circuit precedent on point or clearly established weight of authority from other courts finding the

law to be as the plaintiff maintains. See id. As shown herein, the case law in the Tenth Circuit

and U.S. Supreme Court as well as New Mexico State Court was clear that a reasonable officer

would have known that the shooting and killing of Reyna who posed no threat to Taylor or to the

public was unconstitutional.




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   2. Officer White Violated Craft’s Constitutional Rights.

   As supported by the aforementioned evidence, White’s actions were clearly not reasonable,

and his actions are contrary to clearly established constitutional rights. As such, he is not entitled

to qualified immunity.

   3. The Law Has Clearly Established that White’s Actions Violated Constitutional
      Protections.

   A key issue in applying the qualified immunity defense to specific cases is determining

whether the right plaintiff claims was violated had been clearly established prior to the incident

giving rise to the suit. Davis v. Scherer, 468 U.S. 183, 104 S. Ct. 3012, 82 L. Ed. 2d 139 (1984).

In making a claim for qualified immunity, the Defense asserts: “There was no clearly established

law at the time of Plaintiff’s arrest that would have put a reasonable officer in Detective White’s

position on notice that his actions…of interviewing witness (including that of plaintiff)” was

unlawful. Certainly, Defendant White was or should have been taught that you don’t

misrepresent facts in an affidavit to obtain an arrest warrant. Any reasonable police officer

knows that seeking an arrest warrant violates the Fourth Amendment when they knowingly, or

with reckless disregard for the truth, include false statements in an affidavit, or knowingly or

recklessly omit pertinent information from an affidavit. Puller v. Baca, 781 F3d 1190, 1197 (10th

Cir. 2015). In fact, both Officers Ellis and Thomas at the scene advised the mob, including Mr.

and Mrs. Stone, that Craft had a Fourth Amendment right from unlawful arrest. (See, Audio of

Officer Ellis, Exhibit 2). Defendant White clearly ignored the findings of Officers Ellis and

Thomas and as Officer Ellis Testified in his deposition “…that even it was a petty misdemeanor

crime that I was most likely going to have to obtain an arrest warrant for the subject due to



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Lieutenant Wright at the time stating that we needed to find a reason to arrest [Craft].” (See,

Deposition of Brandon Ellis, pp 59:16-20, Exhibit 5). Officer Ellis was aware there was no legal

basis for the arrest of Craft and thereby, Defendant White was assigned who knowingly, or with

reckless disregard for the truth, included false statements in an affidavit, or knowingly or

recklessly omitted pertinent information from an affidavit.

   4. For reasons stated above and herein, Defendant White maliciously prosecuted Craft
      in violation of his Fourth Amendment Rights.

On the date in question Craft was exercising his right to free speech and freedom of religion. The

locals; including various member of the Hobbs Police Department were not happy about it and

made sure he was removed from the streets. Arrested and removed in spite the fact Craft was in

a public forum and in no way in violation of any ordinances. While exercising his First

Amendment rights when he was approached by the wife of a local gun owner who begin yelling

obscenities which included (“You goddamn nut! “You mother-!”) over and over while she

waived a lighter in his face and then struck him in the face with his bible.

       The Defense asserts that in order to assert a Fourth Amendment violation Plaintiff must

establish: 1) defendant caused the confinement or prosecution; 2) that he original action

terminated in plaintiff’s favor; 3) that no probable cause supported the original arrest, continued

confinement, or prosecution; 4) the defendant acted with malice; and 5) the plaintiff sustained

damages. The Defense claims that Plaintiff cannot meet the second and third elements. The

evidence clearly demonstrates otherwise.

       Craft was arrested for the charged crimes without probable cause and was charged with

false allegations of criminal conduct for malicious and impermissible reasons. As stated above,



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affiants like White who are seeking arrest warrants violate the Fourth Amendment when they

knowingly, or with reckless disregard for the truth, include false statements in affidavit, or

knowingly or recklessly omit form it information which, if included, would undermine probable

cause. (See, Affidavit of Judge Henry, Exhibit 8). Also important to note, that the Defense

claims that he charge was dismissed on a technicality and this is also in accurate. The

Defense/prosecution was fully aware that the State did not have a case and made several plea

offers to the Plaintiff, which were all refused. The state ultimately filed a Noli Prossequi in the

criminal matter.

       Regarding element three, from the onset there was no probable cause for arrest, and this

was made clear by Officers Ellis and Thomas. Nevertheless, Defendant White went out of this

way to fabricate evidence and with disregard for the truth presented an affidavit that consisted

multiple misrepresentations that he himself created to obtain an arrest warrant. As set forth in

the attached exhibits and the affidavit of Judge Henry, there was insufficient evidence for the

arrest of Craft and but for Defendant Whites fabrications, he would have never been arrested.

Clearly, Craft’s Fourth Amendment Rights have been violated.

       5.      Violation of Craft’s First Amendment Rights.

       i.      Evidence clearly demonstrates that Defendants wanted to put a stop to
               Craft’s public preaching.

       On April 18, 2015, Craft had been living in Hobbs for approximately 6 months while on

contract with the Waste Isolation Pilot Project (WIPP). This is a program outside of Carlsbad,

New Mexico in which nuclear waste is stored in underground salt beds. On weekends, Craft

would enjoy fulfilling what he believed to be his Christian obligation by public preaching the



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word of God. Every Saturday afternoon for approximately 6 months he would set up his tri-pod

on the public form of Ship and Broadway and film himself preaching from his King James Bible

and then post his videos online. While this was a public forum used for concerts and other local

public events, evidently Hobbs was not ready for a 6 foot African-American man preaching on

its public streets.

          Hobbs PD directed their officers to conduct surveillance on this outsider while Craft

continued his street preaching. While HPD typically doesn’t normally surveil regular citizens

unless they are related to gang or drug activities, this black street preacher was considered a

threat to society and under careful watch. (See Surveillance Photo attached, Exhibit 9). When

Susan Stone approached Craft, she intended to provoke him. She and her husband were good

friends with City Commissioner Monty Newman and had strategized how to get this nuisance off

their public square. After the incident on April 18th, Officer White went to the Stones home to

discuss the matter and was welcomed with open arms exclaiming, “When I found out you were

on the case my dream came true”, as he was welcomed into their home. (See, Recording of

White at Stone’s residence, Exhibit 6). Defendant White and others simply didn’t want Craft on

the Hobbs Public streets and made sure they put a stop to his preaching. As officer Ellis advised

when he arrived on scene, there was no indication that craft was using language that would give

rise to disorderly conduct and thereby could not be charged for anything. (See, Ellis Recording,

Exhibit 2). Craft was most certainly stripped of his First Amendment Right to freedom of

speech.

ii. What is clear is that Craft has a First Amendment Right to exercise his freedom of
    speech/religion in the manner in which he was exercising it and what is further clear is



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     he was not violating any laws and thereby need not show he was charged without
     probable cause in order for his First Amendment claims to survive a motion to dismiss.

     The Defense asserts that after Howards v. McLaughlin, 634 F.3d 1131, 1131 (10th Cir. 2011)

a malicious prosecution claim will lot lie where probable cause exists. In the instant case there

was absolutely no probable cause for the arrest of Craft and but for the malicious misleading

affidavit submitted by Defendant White an arrest warrant would not have been issued.

Moreover, Craft was in no way threatening to the public or making any attempt to incite

violence. He was merely peaching while black. In DeLoach, a case involving both a retaliatory

arrest and a retaliatory prosecution, the Court held that “[a]n act taken in retaliation for the

exercise of a constitutionally protected right is actionable under §1983 even if the act, when

taken for a different reason, would have been proper” 922 F.2d 618, 620 (1990). Again,

Officers Ellis and Thomas understood in April of 2015 there was absolutely no basis for the

arrest of Craft and there is no indication that the Supreme Court would disagree.

C.         Defendant Chad Wright is as liable for the actions of Defendant Wight if not more.

After Ellis completed his investigation, he called his supervisor, Sargent McEachern who

advised that Lieutenant Wright wanted Craft arrested. A directive that Ellis knew would be a

violation of Craft’s Constitutional rights. (See, Audio recording of Officer Brandon Ellis,

Exhibit 2). Officer Ellis made this clear in his deposition testimony. (See, Deposition of

Brandon Ellis pp 90-92:15-8, Exhibit 5).

     IV.      CONCLUSION

           Summary judgment is inappropriate when the evidence presented by the parties is

susceptible of different interpretations or inferences by the trier of fact. Randle v. City of Aurora,



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69 F.3d 441, 453 (10th Cir. 1995). “[A]t the summary judgment stage the judge's function is not

to weigh the evidence and determine the truth of the matter, but to determine whether there is a

genuine issue for trial.” Id. at 453. Plaintiffs contend that after reviewing the evidence presented,

this Court should deny Defendants' motion for summary judgment.


                                                              Respectfully Submitted by:
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IT IS HEREBY CERTIFIED that the foregoing
pleading was filed electronically through the
CM/ECF system, causing the following parties
or counsel of record to be served by electronic,
means, as more fully reflected on the Notice of
Electronic Filing on this date:

/s/Joseph M. Zebas
Joseph M. Zebas




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